Case 1:17-cr-00201-AB.] Document 462 Filed 12/10/18 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

V.
Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFoRT, JR.,

Defendant.
DEFENDANT PAUL J. MANAFORT, JR.’S WAIVER OF HIS
APPEARANCE AT THE DECEMBER ll, 2018 SCHEDULING CONFERENCE

In response to the Court’s December lO, 2018 minute order setting a scheduling
conference in the captioned matter, I, Paul J. Manafort, Jr., submit this Written Waiver of
my right to appear at the scheduling conference on December ll, 2018.

I have been advised by my counsel of my right to be present at all stages of these
proceedings and, vvith a full and complete understanding of my rights, have agreed that my
interests Will be represented at the proceeding described by the presence of my attomeys.
IWaive my right to appear because of the time involved in having the U.S. Marshal Service

transport me to and from the courthouse

Dated: December lO, 2018 Respectfully submitted,

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Paul J. l\/I/¢{nafort,/rl /

